Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 1 of 24

UNITED STATES DISTRICT COURT

 

DISTRICT OF MARYLAND
SHANE ROTHENBERGER, derivatively : Civil Action No.
on behalf of MEDIFAST, INC.,
Plaintiff,

Y.

BRADLEY T. MACDONALD,

MARGARET MACDONALD-SHEETZ,

DONALD F, REILLY, MICHAEL S.

MCDEVITT, MICHAEL C.

MACDONALD, GEORGE LAVIN, JR.,

CHARLES P. CONNOLLY, BARRY B.

BONDROFF, JEANNETTE M. MILLS,

JASON L. GROVES, SR., CATHY T.

MAGUIRE, JOHN P. MCDANIEL, : JURY TRIAL DEMANDED

JERRY D, REECE, H.C. BARNUM, JR.,
and BRENDAN N. CONNORS,

Defendants,

and
MEDIFAST, INC.,
Nominal Defendant.

VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

1. Plaintiff Shane Rothenberger (“Plaintiff”), by and through his undersigned
attorneys, hereby submits this Verified Shareholder Derivative Complaint (the "Complaint" for
the benefit of nominal defendant Medifast, Inc. ("Medifast" or the "Company") against certain
members of its Board of Directors (the "Board") and executive officers seeking to remedy
defendants' breaches of fiduciary duties and unjust enrichment from March 4, 2010 to the present
(the “Relevant Period”).

NATURE OF THE ACTION

2. According to its public filings, Medifast engages in the production, distribution,

and sale of weight management and disease management products, and other consumable health

-l-
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 2 of 24

and diet products in the United States. The Company’s product lines include weight and disease
management, meal replacement, and vitamins. It also operates weight control centers that offer
Medifast programs for weight loss and maintenance, customized patient counseling, and Inbody
composition analysis.

3, Throughout the Relevant Period, defendants made false and/or misleading
statements, as well as failed to disclose material adverse facts about the Company’s business,
operation, and prospects. Specifically, defendants made false and/or misleading statement and/or
failed to disclose: (1) that defendants were improperly recognizing certain expenses; (2) that the
Company lacked adequate internal and financial controls; and (3) that, as a result of the
foregoing, the Company’s financial results were materially false and misleading at all relevant
times.

4. On March 11, 2011, defendants caused the Company to disclose that it would be
forced to delay filing its fiscal 2010 financial results and its Annual Report on Form 10-K.
According to the very limited information provided by defendants regarding the delay, Medifast
required additional time to complete its year-end financial statements due to the need to review
the recognition of certain expenses in prior periods,

5. On this news, Medifast shares declined $5.27 per share, or more than 24%, to
close at $16.63 per share on March 11, 2011.

6. On April 1, 2011, in a Form 8-K, defendants caused the Company to announce
that in response to the above review, the Company would be required to restate its financial
results. Additionally, defendants admitted that the Company’s internal controls during the
Relevant Period contained material weaknesses. The April 1, 2011 Form 8-K specifically stated,

in relevant part:
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 3 of 24

The Item 4.02 disclosure below relates to the restatement of our financial
statements for the years December 31, 2008 and 2009 and beginning retained
earnings as of January 1, 2008 principally due to errors in recording certain
ordinary course of business expenses in the proper period. Certain costs and
expenses affecting selling, general and administrative expenses and cost of sales,
to include shipping expenses and certain web advertising expenses, which due to
growth and evolution in the business model were consistently expensed in the
following month after services were rendered, rather than being accrued in the
proper period. The company has consistently recorded twelve months of
expenses in each year. In addition to the timing of expenses, there was a write off
related to an intangible asset. Aiso, in the Medifast Weight Control Centers, the
Company had been recording program fees on a cash basis for customers who
paid up front. The difference has been deferred and properly recorded over the
applicable service period, and for fiscal year 2010 has been properly recorded, so
there is no material impact for the year ended December 31, 2010. With the
Company’s accelerated growth rate over the last few years (44% CAGR in sales
since December 31, 2007) the one month lag in expenses on a cumulative basis
was deemed material per Staff Accounting Bulletin No. 108 and requires
restatement for the years ended December 31, 2008 and 2009. The Item 4.02
disclosure is as follows:

In the course of our 2010 annual audit by our independent registered public
accounting firm McGladrey & Pullen, LLP’s (McGladrey), McGladrey requested
in March 2011 that we re-evaluate whether our historical and then current
practices with the respect to the timing for recognition of certain expenses were
appropriate under generally accepted accounting principles in the United States
(“GAAP”). This required the company to request an automatic extension for filing
our 10-K to allow adequate investigative time for the reevaluation and to allow
our current year auditor to meet, discuss and review work papers with our prior
years’ auditors who then concurred with the conclusory recommendation to
restate for prior years made following their joint review.

* * *

Management performed a detailed review of expense recognition of certain
ordinary course of business expenses for the year’s 2008 and 2009. As a result,
we identified a material weakness in our internal control over financial
reporting. Historically, our accounts payable and accrued expense accounts were
evaluated on a quarterly and annual basis based upon whether the corresponding
expenses were fairly stated (e.g by analyzing whether our operating results
included twelve months of expenses for the yearly periods or three months of
expenses for the quarterly periods) which they did.. However, our procedures did
not include a detailed review of ending liability balances for these specific costs
and expenses, which resulted in certain expenses being recorded when they were
paid rather than incurred. In addition, during the course of their audit, McGladrey
identified other adjustments pertaining to the prior years which have also been
included in the restatement. Our predecessor auditor concurred with
management’ s assessment and has audited the restatement adjustments.

On March 28, 2011 management and the Audit Committee reviewed
management's findings and the Audit Committee concluded that restating the
consolidated financial statements for the years ended December 31,2008 and
2009 is required. The effects of these restatements are included in this Annual
Report on Form 10-K for the fiscal year ended December 31, 2010. The

-3-
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 4 of 24

Company has determined that previously reported amounts in our 2010 quarterly
filings on Form 10-Q need not be restated due to the immaterial effect on 2010
revenues, operating income, pre-tax income, net income or cash flows for the
quarterly periods presented.

The correction of the errors noted in (i) above reduced 2009 and 2008, net income
by $606,000 ($.04 per diluted share), $523,000 ($.04 per diluted share), and
$628,000 was adjusted to beginning retained earnings as of January 1, 2008.

7, Accordingly, as a result of Defendants’ breaches, the Company has been
damaged.
JURISDICTION AND VENUE
8. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(2) in

that Plaintiff and defendants are citizens of different states and the matter in controversy exceeds
$75,000.00, exciusive of interests and costs. This Court has supplemental jurisdiction over the
state law claims asserted herein pursuant to 28 U.S.C. §1367(a). This action is not a collusive
one to confer jurisdiction on a court of the United States which it would not otherwise have.

9, Venue is proper in this district because a substantial portion of the transactions
and wrongs complained of herein, including the defendants’ primary participation in the
wrongful acts detailed herein, occurred in this district. One or more of the defendants either
resides in or maintains executive offices in this district, and defendants have received substantial
compensation in this district by engaging in numerous activities and conducting business here,
which had an effect in this district.

THE PARTIES

10. Plaintiff is a current shareholder of Medifast and has continuously held Medifast
stock at all relevant times. Plaintiff is a citizen of California.

11. Nominal defendant Medifast is a Delaware corporation, with its principal
executive offices at 11445 Cronhill Drive, Owings Mills, Maryland 21117. According to its

public filings, Medifast combines physician supervised weight loss programs with nutritional

~4.
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 5 of 24

supplements and multidisciplinary patient education programs. The Company provides an
Internet-based physician and medical practitioner network to consumers. Medifast also provides
a corporate wellness program for large corporations, associations, and their health insurance
carriers.

12, Defendant Bradley T. MacDonald (“B.T. MacDonald”) has served as the
Company’s Executive Chairman of the Board since January 1998 and was also the Company’s
Chief Executive Officer (“CEO”) until March 2007. Defendant B.T. MacDonald is the father of
defendant Margaret E. MacDonald-Sheetz and brother of defendant Michael C. MacDonald
(“M.C. MacDonald”). Upon information and belief, defendant B.T. MacDonaid is a citizen of
Maryland.

13. Defendant Margaret MacDonald—Sheetz (“MacDonald—Sheetz”) has served as the
Company’s President and Chief Operating Officer (“COO”) since March 2007 and as a director
of the Company since 2005. Defendant MacDonald-Sheetz is the daughter of Defendant B.T.
MacDonald and niece of defendant M.C. MacDonald. Upon information and belief. defendant
B.T. MacDonaid is a citizen of Maryland.

14. Defendant Donald F. Reilly (“Reilly”) has served as a director of the Company
since 1998. Upon information and belief, defendant Reilly is a citizen of Pennsylvania.

15. Defendant Michael $. McDevitt (“McDevitt”) has served as the Company’s CEO
and a director of the Company since March 2007. Between March 2005 and March 2007,
defendant McDevitt served as the Company’s President, Between January of 2006 and May 13,
2010, he served as the Company’s Chief Financial Officer (“CFO”). Upon information and
belief, defendant McDevitt is a citizen of Maryland.

16. Defendant M.C. MacDonald has served as a director of the Company since 1998.

-5.
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 6 of 24

Defendant M.C. MacDonald is the brother of defendant B.T. MacDonald and uncle of defendant
MacDonald-Sheetz. Upon information and belief, defendant M.C. MacDonald is a citizen of
Connecticut.

17. Defendant George Lavin, Jr. (“Lavin”) has served as a director of the Company
since 2005. In addition, defendant Lavin has served as a member of the Board’s Audit
Committee (the “Audit Committee”) during the Relevant Period. Upon information and belief,
defendant Lavin is a citizen of Pennsylvania.

18. Defendant Charles P. Connolly (“Connolly”) has served as a director of the
Company since 2006. In addition, defendant Connolly has served as the Chairman of the Audit
Committee during the Relevant Period. Upon information and belief, defendant Connolly is a
citizen of Pennsylvania.

19. Defendant Barry B. Bondroff (“Bondroff’) has served as a director of the
Company since 2008. In addition, defendant Bondroff has served as a member of the Audit
Committee during the Relevant Period. Upon information and belief, defendant Bondroff is a
citizen of Maryland.

20. Defendant Jeannette M. Mills (“Mills”) has served as a director of the Company
since 2008. Upon information and belief, defendant Mills is a citizen of Maryland.

21. Defendant Jason L. Groves, Sr. (“Groves”) has served as a director of the
Company since 2009. In addition, defendant Groves has served as a member of the Audit
Committee during the Relevant Period. Upon information and belief, defendant Groves is a
citizen of Washington D.C.

22, Defendant Cathy T. Maguire (“Maguire”) has served as a director of the

Company since 2009. Upon information and belief, defendant Maguire is a citizen of
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 7 of 24

Pennsylvania.

23. Defendant John P. McDaniel (“McDaniel”) has served as a director of the
Company since 2009. Upon information and belief, defendant McDaniel is a citizen of
Maryland. |

24. Defendant Jerry D. Reece (“Reece”) has served as a director of the Company
since 2009. Upon information and belief, defendant Reece is a citizen of Kansas.

25. Defendant H.C. “Barney” Barnum, Jr. (“Barnum”) has served as a director of the
Company since 2009. Upon information and belief, defendant Barnum is a citizen of Maryland.

26. Defendant Brendan N. Connors (“Connors”) has been the Company’s CFO since
May 2010. Upon information and belief, defendant Connors is a citizen of Maryland.

27, Collectively, defendants B.T. MacDonald, MacDonald—Sheetz, Reilly, McDevitt,
M.C. MacDonald, Lavin, Connolly, Bondroff, Mills, Groves, Maguire, McDaniel, Reece,
Barnum, and Connors shall be referred to herein as “Defendants.”

28, Collectively, defendants Lavin, Connolly, Bondroff, and Groves shall be referred
to as the “Audit Committee Defendants.”

DEFENDANTS’ DUTIES

29. By reason of their positions as officers, directors, and/or fiduciaries of Medifast
and because of their ability to control the business and corporate affairs of Medifast, Defendants
owed Medifast and its shareholders fiduciary obligations of good faith, loyalty, and candor, and
were and are required to use their utmost ability to control and manage Medifast in a fair, just,
honest, and equitable manner. Defendants were and are required to act in furtherance of the best
interests of Medifast and its shareholders so as to benefit ali shareholders equally and not in

furtherance of their personal interest or benefit. Each director and officer of the Company owes
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 8 of 24

to Medifast and its shareholders the fiduciary duty to exercise good faith and diligence in the
administration of the affairs of the Company and in the use and preservation of its property and
assets, and the highest obligations of fair dealing.

30. Defendants, because of their positions of control and authority as directors and/or
officers of Medifast, were able to and did, directly and/or indirectly, exercise control over the
wrongful acts complained of herein. Because of their advisory, executive, managerial, and
directorial positions with Medifast, each of the Defendants had knowledge of material non-
public information regarding the Company.

31. To discharge their duties, the officers and directors of Medifast were required to
exercise reasonable and prudent supervision over the management, policies, practices and
controls of the Company. By virtue of such duties, the officers and directors of Medifast were
required to, among other things:

a. Exercise good faith to ensure that the affairs of the Company were conducted
in an efficient, business-like manner so as to make it possible to provide the
highest quality performance of their business;

b. Exercise good faith to ensure that the Company was operated in a diligent,
honest and prudent manner and complied with all applicable federal and state
laws, rules, regulations and requirements, and all contractual obligations,
including acting only within the scope of its legal authority; and

c. When put on notice of problems with the Company's business practices
and operations, exercise good faith in taking appropriate action to correct
the misconduct and prevent its recurrence.

32. Pursuant to the Audit Committee’s Charter, the members of the Audit Committee

are required, inter alia, to:

a. Review with the management the quality and adequacy of internal controls
that could significantly affect the Company's financial statements;

b. Review at least quarterly with the Board any issues that arise with respect to
the quality or integrity of the Company's financial statements, the Company's

-R-
Case 1:11-cv-00863-GLR Document 1 Filed 04/01/11 Page 9 of 24

A,

33,

compliance with legal or regulatory requirements, or the performance of the
internal audit function;

Discuss with management the Company's major financial risk exposures, the
Company's policies with respect to risk assessment and risk management, and
the steps management has taken to monitor and control these exposures;

. Discuss with management the quality and adequacy of the Company's

disclosure controls and procedures;

Prior to each quarterly earnings release, discuss with management the
earnings press release, financial information and earnings guidance to be
provided to investors, analysts or rating agencies;

Meet to review and discuss with management the Company's quarterly and
annual financial statements; and

. Review with the Company's General Counsei legal matters that may have a

material impact on the financial statements, the Company's compliance
policies and any material reports or inquiries received from regulators or
government agencies.

SUBSTANTIVE ALLEGATIONS

Company Background

According to its public filings, the Company is engaged in the production,

distribution, and sale of weight management and disease management products and other

consumable health and diet products. The Company’s product lines include weight and disease

management, meal replacement, and vitamins primarily manufactured in its FDA approved

facility in Owings Mills; Maryland. The Company's operations are primarily conducted through

five of its wholly owned subsidiaries, Jason Pharmaceuticals, Inc., TSFL, Jason Enterprises, Inc.,

Jason Properties, LLC and Seven Crondall, LLC. The Company's three primary distribution

channels are TSFL, Direct Response, and Medifast Weight Control Centers.

B.

34,

Defendants’ False and Misleading Statements

On March 4, 2010, Defendants caused the Company to issue a press release
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 10 of 24

announcing its financial results for the fourth quarter and year ended December 31, 2009. For
the fourth quarter, Defendants caused the Company to report a net income of $3 million, or $0.21
per diluted share and revenue of $46.2 million, as compared to net income of $949,000, or $0.07
per share and revenue of $25.5 million for the same period of the prior year. For the year 2009,
Defendants caused the Company to report a net income of $12 million, or $0.81 per diluted share
and revenue of $165.6 million, as compared to a net income of $5.4 million, or $0.38 per diluted
share and revenue of $105.4 million for the same period of the prior year.
35. Regarding the results, defendant McDevitt commented the following:

As we indicated in our preliminary results release, we are
extremely pleased that our multi-platform distribution business
model continued to operate at a high level during the fourth quarter
of 2009, The traditional holiday seasonality that is inherent to our
calendar fourth quarter did not materialize this year and we
benefitted with strong growth from all of our distribution channels.
The credibility of the Medifast line of products and our weight loss
program is enhanced by virtue of the recommendation of more
than 20,000 doctors, and is a key factor to our success. In today's
environment, we believe that the recommendations of friends and
family as weil as those in the medical profession transcend the
mass market advertising paradigm as the most effective way to
communicate the message and benefits of a weight loss program.

36. On March 31, 2010, Defendants caused the Company to file its annual report on
Form 10-K for the year ended December 31, 2009 with the SEC, which was signed by
defendants B.T. MacDonald, MacDonald-Sheetz, Reilly, McDevitt, M.C. MacDonald, Lavin,
Connolly, Bondroff, Mills, Groves, Maguire, McDaniel, and Reece and represented the
Company's 2009 financial results and financial position. In addition, pursuant to the Sarbanes-
Oxley Act of 2002, the Form 10-K contained signed certifications (“SOX Certifications”) by
defendant McDevitt, stating that the financial information contained in the 10-K was accurate,
and that any material changes to the Company's internal control over financial reporting were

disclosed.

-10-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 11 of 24

37. On May 5, 2010, Defendants caused the Company to issue a press release
announcing its financial results for the first quarter ended March 31, 2010. Defendants reported
a net income of $4.9 million, or $0.33 per diluted share and revenue of $60.6 million, as
compared to a net income of $2.5 million, or $0.17 per share and revenue of $34.6 million for the
same period of the prior year.

38. Regarding the results, defendant McDevitt commented the following:

We continue to experience very strong growth in each of our
multiplatform distribution channels. Increasingly the Take Shape
for Life, Direct Response, and Medifast Weight Control Center
channels are providing a complimentary source of support for
health coaches and clients to connect and share Medifast's
clinically proven weight-loss programs. We will expand our
platform by strategically investing in our infrastructure and
enhancing our message to reach more consumers in both new and
existing markets in the future. We believe our vertically integrated
operations and increased capacity allow us to continually improve
the long-term leverage of our business model by expanding our
margins and long-term profitable growth. We look forward to
building upon the record achievements during the first quarter in
2010,

39. Qn May 10, 2010, Defendants caused the Company to file a quarterly report on
Form 10-Q for the first quarter ended March 31, 2010 with the SEC, which was signed by
defendant McDevitt, and represented the Company's quarterly financial results and financial
position. In addition, the Form 10-Q contained SOX Certifications by defendant McDevitt,
stating that the financial information contained in the 10-Q was accurate, and that any material
changes to the Company's internal control over financial reporting were disclosed.

40. On August 5, 2010, Defendants caused Medifast to issue a press release
announcing its financial results for the second quarter ended June 30, 2010. Defendants reported
net income of $5.6 million, or $0.38 per diluted share and revenue of $66.7 million, as compared
to net income of $3.0 million, or $0.20 per diluted share and revenue of $41.7 million for the

same period of the prior year.

-li-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 12 of 24

41. _—_ Regarding these results, defendant McDevitt commented the following:

We are extremely pleased with Medifast's strong second quarter
revenue and earnings performance. Our multi-platform distribution
channels continue to provide a complementary source of support
for Medifast direct response, weight loss clinics and health coaches
to connect with clients in ways they prefer and share Medifast's
clinically proven weight-loss programs. We started the second half
of the year with a 62% increase in attendance at the Take Shape for
Life Annual Convention; and we believe this combined with the
addition of at least 11 new Medifast Weight Control Centers, and a
strong, efficient investment in Direct Response advertising
provides strong momentum for the second half of 2010. Going
forward, we are confident that our vertically integrated operations
and increased capacity will allow us to continually improve the
long-term leverage of our business model by expanding our
margins and future long term profitable growth.

42, On August 09, 2010, Defendants caused the Company to file a quarterly report on
Form 10-Q for the second quarter ended June 30, 2010 with the SEC, which was signed by
defendants McDevitt and Connors, and confirmed the Company's quarterly financial results and
financial position. In addition, the Form 10-Q contained SOX Certifications by defendants
McDevitt and Connors, stating that the financial information contained in the 10-Q was accurate,
and that any material changes to the Company's internal control over financial reporting were
disclosed. |

43. On November 4, 2010, Defendants caused Medifast to issue a press release
announcing its financial results for the third quarter ended September 30, 2010, Defendants
reported a net income of $5.8 million, or $0.39 per diluted share and net revenue of $67.3 million
for the third quarter 2009, compared to a net income of $3.4 million, or $0.23 per diluted share
and net revenue of $46.1 million for the same period of the prior year.

44 Regarding these results, defendant McDevitt commented the following:

Our positive sales results were broad-based with each of our
distribution channels growing at a rate of at least 30%.
Increasingly, the Take Shape for Life, Direct Response, and
Medifast Weight Control Center sales channels provide a
complimentary source of personalized support for clients to

-12-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 13 of 24

connect and share Medifast's clinically proven weight-loss
program. Weare extremely pleased with our financial performance
to date. Going forward, we are confident that our vertically
integrated operations, combined with our recent investments in
infrastructure and personnel will allow us to continually improve
the leverage of our business model as we increase sales and expand
margins for long-term profitable growth.

45. On November 9, 2010, Defendants caused the Company to file with the SEC a
quarterly report on Form 10-Q for the third quarter ended September 30, 2010, which was signed
by defendants McDevitt and Connors, and confirmed the Company's previously reported
| quarterly financial result. In addition, the Form 10-Q contained SOX Certifications by
defendants McDevitt and Connors, stating that the financial information contained in the 10-Q
was accurate, and that any material changes to the Company's internal control over financial
reporting were disclosed.

46, On September 3, 2010, Defendants caused the Company to disclose in a Form 8-
K filed with the SEC that it had restated consolidated financial statements for 2006 through 2008
due to errors in deferred tax accounts. Specifically, Defendants caused the Company to disclose

the following in relevant part:

(a) During the audit of the Company's financial statement for the
year ended December 31, 2009, Management of Medifast, Inc. was
first advised by Friedman, LLP, the Company's independent
registered public accounting firm, that a potential error existed in
its deferred tax account balances due to timing differences
resulting between depreciation expense for tax purposes versus
financial statement purposes.

Management performed a detailed reconciliation of deferred tax
accounts and the related provision for income taxes for all tax
years beginning in 2001 in order to quantify the potential balance
adjustments. The Company's Management upon being advised by
its Independent Auditor of the SF AS No. 109 calculation issue, as
part of its Sarbanes Oxley policy regarding internal controls
regarding financial reporting, immediately reported this issue to
the Audit Committee which promptly initiated and conducted its
review. That review on March 16, 2010 concluded i) that Bagell,
Josephs, Levine & Company, LLP ("BJL") had merged with
Friedman, LLP effective January: 1, 2010. ii) that neither
Management nor the Audit Committee had been previously

-13-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 14 of 24

notified of this audit concern by its auditors BJL either during
those audits nor while preparing the quarterly reports and tax
returns with BJL Tax Accountant Services for the pertinent years
ii.) that Company management is responsible for the internal
controls over the preparation and review process for the calculation
of the income tax provision which was inadequate, and led to
errors in the computation of deferred tax assets, deferred tax
liabilities, and related income tax provision.

On March 29, 2010 management and the Audit Committee
reviewed management's findings as well as the finding of
Friedman, LLP and the Audit Committee concluded that restating
the consolidated financial statements for the years ended December
31, 2006, 2007, and 2008 is required. The Company announces
that its consolidated financial statements for the years ended
December 31, 2006, 2007 and 2008 issued prior to the filing of its
Annual Report on Form 10-K on March 31, 2010, should not be
relied upon henceforward.

The Company is restating for errors identified in its deferred tax
accounts pertaining to (i) differences between the income tax basis
and the financial reporting basis of long-lived assets that were not
reconciled to the deferred tax balances (ii) to properly apply a net
operating loss to our deferred tax and provision for income taxes
for the years ended December 31, 2001, 2002, 2003, 2004, and
2005. The effects of these restatements are included in the Annual
Report on Form 10-K for the fiscal year ended December 31, 2009
filed on March 31, 2010. with the Securities and Exchange
Commission, The Annual Report on Form 10-K filed on March 31,
2010 also includes management's conclusion that a material
weakness existed in our internal control over financial reporting as
of December 31, 2009. The preparation and review process for the
calculation of the tax provision was inadequate, which led to errors
in the computation of deferred tax assets, deferred tax liabilities,
and related income tax provision.

The correction of the errors noted in (i) above reduced 2008, 2007,
and 2006 net income by $601,000 (.04 per diluted share), $411,000
($.03 per diluted share), and $583,000 (.04 per diluted share),
respectively. The corrections noted in number (11) above increased
beginning of 2006 accumulated deficit by $1,358,000.

47, The statements referenced above were materially false and/or misleading because
they misrepresented and failed to disclose the following adverse facts: (1) that Defendants were
improperly recognizing certain expenses; (2) that the Company lacked adequate internal and
financial controls; and (3) that, as a result of the foregoing, the Company's financial results were

materially false and misleading at all relevant times.

-14-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 15 of 24

Cc. The Truth Begins To Emerge

48. On March 11, 2011, Defendants caused the Company to disclose that it will
require additional time to review its year-end financial statements. Specifically, the "delay in
releasing is due to additional time needed for the Company to review the recognition of certain
expenses in prior periods, and, therefore, complete its consolidated financial statements for fiscal
2010 and its Annual Report on Form 10-K."

49. On this news, Medifast shares plummeted $5.27 per share, or more than 24%, to
close at $16.63 per share.

50. On April 1, 2011, in a Form 8-K, Defendants caused the Company to announce
that in response to the above review, the Company would be required to restate its financial
results. Additionally, Defendants admitted that the Company’s internal controls during the
Relevant Period contained material weaknesses. The April 1, 2011 Form 8-K specifically stated,

in relevant part:

The Item 4.02 disclosure below relates to the restatement of our financial
statements for the years December 31, 2008 and 2009 and beginning retained
earnings as of January 1, 2008 principally due to errors in recording certain
ordinary course of business expenses in the proper period. Certain costs and
expenses affecting selling, general and administrative expenses and cost of sales,
to include shipping expenses and certain web advertising expenses, which due to
growth and evolution in the business model were consistently expensed in the
following month after services were rendered, rather than being accrued in the
proper period. The company has consistently recorded twelve months of
expenses in each year. In addition to the timing of expenses, there was a write off
related to an intangible asset. Also, in the Medifast Weight Control Centers, the
Company had been recording program fees on a cash basis for customers who
paid up front. The difference has been deferred and properly recorded over the
applicable service period, and for fiscal year 2010 has been properly recorded, so
there is no material impact for the year ended December 31, 2010. With the
Company’s accelerated growth rate over the last few years (44% CAGR in sales
since December 31, 2007) the one month lag in expenses on a cumulative basis
was deemed material per Staff Accounting Bulletin No. 108 and requires
restatement for the years ended December 31, 2008 and 2009. The Item 4.02
disclosure is as follows:

In the course of our 2010 annual audit by our independent registered public

accounting firm McGladrey & Pullen, LLP’s (McGladrey), McGladrey requested
in March 2011 that we re-evaluate whether our historical and then current

-15-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 16 of 24

practices with the respect to the timing for recognition of certain expenses were
appropriate under generally accepted accounting principles in the United States
(“GAAP”). This required the company to request an automatic extension for filing
our 10-K to allow adequate investigative time for the reevaluation and to allow
our current year auditor to meet, discuss and review work papers with our prior
years’ auditors who then concurred with the conclusory recommendation to
restate for prior years made following their joint review.

* * *

Management performed a detailed review of expense recognition of certain
ordinary course of business expenses for the year’s 2008 and 2009. As a result,
we identified a material weakness in our internal control over financial
reporting. Historically, our accounts payable and accrued expense accounts were
evaluated on a quarterly and annual basis based upon whether the corresponding
expenses were fairly stated (e.g. by analyzing whether our operating results
included twelve months of expenses for the yearly periods or three months of
expenses for the quarterly periods) which they did.. However, our procedures did
not include a detailed review of ending liability balances for these specific costs
and expenses, which resulted in certain expenses being recorded when they were
paid rather than incurred. In addition, during the course of their audit, McGladrey
identified other adjustments pertaining to the prior years which have also been
included in the restatement. Our predecessor auditor concurred with
management's assessment and has audited the restatement adjustments.

On March 28, 2011 management and the Audit Committee reviewed
management's findings and the Audit Committee concluded that restating the
consolidated financial statements for the years ended December 31,2008 and
2009 is required. The effects of these restatements are included in this Annual
Report on Form 10-K for the fiscal year ended December 31, 2010. The
Company has determined that previously reported amounts in our 2010 quarterly
filings on Form 10-Q need not be restated due to the immaterial effect on 2010
revenues, operating income, pre-tax income, net income or cash flows for the
quarterly periods presented.

The correction of the errors noted in (i) above reduced 2009 and 2008, net income
by $606,000 ($.04 per diluted share), $523,000 ($.04 per diluted share), and
$628,000 was adjusted to beginning retained earnings as of January 1, 2008.

51.

Accordingly, as a result of Defendants’ breaches of fiduciary duties, the Company

has been damaged.

52.

DERIVATIVE AND DEMAND ALLEGATIONS

Plaintiff brings this action derivatively in the right and for the benefit of Medifast

to redress the breaches of fiduciary duty and other violations of law by Defendants,

53,

Plaintiff will adequately and fairly represent the interests of Medifast and its

shareholders in enforcing and prosecuting its rights.

-16-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 17 of 24

54. The Board currently consists of the following fourteen (14) directors: defendants
B.T. MacDonald, MacDonald-Sheetz, Reilly, McDevitt, M.C. MacDonald, Lavin, Connolly,
Bondroff, Milis, Groves, Maguire, McDaniel, Reece, and Barnum. Plaintiff has not made any
demand on the present Board to institute this action because such a demand would be a futile,
wasteful and useless act, for the following reasons:

a. During the Relevant Period, defendants Lavin, Connolly, Bondroff, and
Groves served as members of the Audit Committee. Pursuant to the
Company’s Audit Committee Charter, the members of the Audit Committee
were and are responsible for, inter alia, reviewing the Company’s annual and
quarterly financial reports and reviewing the integrity of the Company’s
internal controls. Defendants Lavin, Connolly, Bondroff, and Groves
breached their fiduciary duties of due care, loyalty, and good faith, because
the Audit Committee, inter alia, allowed or permitted the Company to
disseminate false and misleading statements in the Company’s SEC filings
and other disclosures and caused the above-discussed internal control failures.
Therefore, defendants Lavin, Connolly, Bondroff, and Groves each face a
substantial likelihood of liability for their breach of fiduciary duties and any
demand upon them is futile;

b. The principal professional occupation of defendant B.T. MacDonald is his
employment with Medifast as the Chairman of the Board, pursuant to which
he has received and continues to receive substantial monetary compensation
and other benefits. In addition, according to the Company’s Proxy Statement
filed on August 24, 2010, Defendants have admitted that defendant B.T.
MacDonald is not independent. Thus, defendant B.T. MacDonald lacks
independence from demonstrably interested directors, rendering him incapable
of impartiaily considering a demand to commence and vigorously prosecute
this action;

c. The principal professional occupation of defendant MacDonald-Sheetz is her
employment with Medifast as President and COO, pursuant to which she has
received and continues to receive substantial monetary compensation and
other benefits. In addition, according to the Company’s Proxy Statement filed
on August 24, 2010, Defendants have admitted that defendant MacDonald-
Sheetz is not independent. Thus, defendant MacDonald-Sheetz lacks
independence from demonstrably interested directors, rendering her incapable
of impartially considering a demand to commence and vigorously prosecute
this action;

d. The principal professional occupation of defendant McDevitt is his
employment with Medifast as its CEO, pursuant to which he has received and

-17-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 18 of 24

continues to receive substantial monetary compensation and other benefits. In
addition, according to the Company’s Proxy Statement filed on August 24,
2010, Defendants have admitted that defendant McDevitt is not independent.
Thus, defendant McDevitt lacks independence from demonstrably interested
directors, rendering him incapable of impartially considering a demand to
commence and vigorously prosecute this action;

e. Due to their close familial relationships with each other, defendants B.T.
MacDonald and MacDonald-Sheetz are incapable of disinterestedly and
independentiy considering a demand to commence and vigorously prosecute
this action against each other. In particular, defendants B.T. MacDonald and
MacDonald—Sheetz are father and daughter. Thus, defendants B.T.
MacDonald and MacDonald-Sheetz lack independence;

f. Due to their close familial relationships with each other, defendants B.T.
MacDonald and M.C. MacDonald are incapable of disinterestedly and
independently considering a demand to commence and vigorously prosecute
this action against each other. In particular, defendants B.T. MacDonald and
M.C. MacDonald are brothers. Thus, defendants B.T. MacDonald and M.C.
MacDonald lack independence; and

g. The members of the Board have clearly demonstrated their unwillingness
and/or inability to act in compliance with their fiduciary obligations and/or to
sue themselves and/or their fellow directors and allies in the top ranks of the
Company for the violations of law complained of herein. Most notably, this is
evidenced by the Board’s initial vague “findings” reached in connection their
decision to delay the filing of the Company’s 2010 financial results and
Annual Report on Form 10-K. Other than the grossest generalities, the
findings of the Board were carefully hidden from Medifast stockholders and
in such circumstances, Delaware law does not require a stockholder to make a
pre-suit demand on a board of directors. Thus, demand is excused.

AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY DUTY FOR
DISSEMINATING FALSE AND MISLEADING INFORMATION
55. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein.
56. _ As alleged in detail herein, each of the Defendants (and particularly the Audit

Committee Defendants) had a duty to ensure that Medifast disseminated accurate, truthful and

complete information to its shareholders.

- 18-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 19 of 24

57. Defendants violated their fiduciary duties of care, loyalty, and good faith by
causing or allowing the Company to disseminate to Medifast shareholders materially misleading
and inaccurate information through, inter alia, SEC filings and other public statements and
disclosures as detailed herein. These actions could not have been a good faith exercise of
prudent business judgment.

58. As a direct and proximate result of Defendants’ foregoing breaches of fiduciary
duties, the Company has suffered significant damages, as alleged herein.

COUNT H

AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY
DUTIES FOR FAILING TO MAINTAIN INTERNAL CONTROLS

59. Plaintiff incorporates by reference all preceding and subsequent paragraphs as if
fully set forth herein.

60. As alleged herein, each of the Defendants had a fiduciary duty to, among other
things, exercise good faith to ensure that the Company's financial statements were prepared in
accordance with GAAP, and, when put on notice of problems with the Company's business
practices and operations, exercise good faith in taking appropriate action to correct the
misconduct and prevent its recurrence,

61. Defendants willfully ignored the obvious and pervasive problems with Medifast’s
internal controls practices and procedures and failed to make a good faith effort to correct the
problems or prevent their recurrence.

62. As a direct and proximate result of the Defendants’ foregoing breaches of
fiduciary duties, the Company has sustained damages.

COUNT Hl
AGAINST ALL DEFENDANTS FOR BREACH OF FIDUCIARY DUTIES FOR

FAILING TO PROPERLY OVERSEE AND MANAGE THE COMPANY

63. Plaintiff incorporates by reference and realleges each and every allegation

-19-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 20 of 24

contained above, as though fully set forth herein.

64. Defendants owed and owe Medifast fiduciary obligations. By reason of their
fiduciary relationships, Defendants specifically owed and owe Medifast the highest obligation of
good faith, fair dealing, loyalty and due care.

65, Defendants, and each of them, violated and breached their fiduciary duties of
care, loyalty, reasonable inquiry, oversight, good faith and supervision.

66. As a direct and proximate result of Defendants’ failure to perform their fiduciary
obligations, Medifast has sustained significant damages, not only monetarily, but also to its
corporate image and goodwill.

67, As a result of the misconduct alleged herein, Defendants are liable to the
Company.

68. Plaintiff, on behalf of Medifast, has no adequate remedy at law.

COUNT IV
AGAINST ALL DEFENDANTS FOR UNJUST ENRICHMENT

69. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein.

70. By their wrongful acts and omissions, the Defendants were unjustly enriched at
the expense of and to the detriment of Medifast.

71. Plaintiff, as a shareholder and representative of Medifast, seeks restitution from
these Defendants, and each of them, and seeks an order of this Court disgorging all profits,
benefits and other compensation obtained by these Defendants, and each of them, from their

wrongful conduct and fiduciary breaches.

COUNT V
AGAINST ALL DEFENDANTS FOR ABUSE OF CONTROL

72, Plaintiff incorporates by reference and realleges each and every allegation

-20-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 21 of 24

contained above, as though fully set forth herein.

73. Defendants’ misconduct alleged herein constituted an abuse of their ability to
control and influence Medifast, for which they are legally responsible. In particular, Defendants
abused their positions of authority by causing or allowing Medifast to misrepresent material facts
regarding its financial position and business prospects.

74. As a direct and proximate result of Defendants’ abuse of control, Medifast has
sustained significant damages.

75. As a result of the misconduct alleged herein, Defendants are liable to the
Company.

76. — Plaintiff, on behalf of Medifast, has no adequate remedy at law.

COUNT VI
AGAINST ALL DEFENDANTS FOR GROSS MISMANAGEMENT

77. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein.

78. Defendants had a duty to Medifast and its shareholders to prudently supervise,
manage and control the operations, business and internal financial accounting and disclosure
controls of Medifast.

79. Defendants, by their actions and by engaging in the wrongdoing described herein,
abandoned and abdicated their responsibilities and duties with regard to prudently managing the
businesses of Medifast in a manner consistent with the duties imposed upon them by law. By
committing the misconduct alleged herein, Defendants breached their duties of due care,
diligence and candor in the management and administration of Medifast’s affairs and in the use
and preservation of Medifast’s assets.

80. During the course of the discharge of their duties, Defendants knew or recklessly

-?1-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 22 of 24

disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants
caused Medifast to engage in the scheme complained of herein which they knew had an
unreasonable risk of damage to Medifast, thus breaching their duties to the Company. As a
result, Defendants grossly mismanaged Medifast.

COUNT VIL
AGAINST ALL DEFENDANTS FOR WASTE OF CORPORATE ASSETS

81. Plaintiff incorporates by reference and realleges each and every allegation
contained above, as though fuliy set forth herein.

82. Asa result of the misconduct described above, and by failing to properly consider
the interests of the Company and its public shareholders, Defendants have caused Medifast to
incur (and Medifast may continue to incur) significant legal liability and/or legal costs to defend
itself as a result of Defendants’ unlawful actions.

83. As a result of this waste of corporate assets, Defendants are liable to the
Company.

84, Plaintiff, on behalf of Medifast, has no adequate remedy at law.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment as follows:

A, Against all Defendants and in favor of the Company for the amount of damages
sustained by the Company as a result of Defendants’ breaches of fiduciary duties;

B. Directing Medifast to take all necessary actions to reform and improve its
corporate governance and internal procedures to comply with applicable laws and to protect the
Company and its shareholders from a repeat of the damaging events described herein, including,
but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company’s By-Laws or Articles of Incorporation and taking such other action as may be

~ 23? -
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 23 of 24

necessary to place before shareholders for a vote a proposal to strengthen the Board’s
supervision of operations and develop and implement procedures for greater shareholder input
into the policies and guidelines of the Board

Cc. Awarding to Medifast restitution from Defendants, and each of them, and
ordering disgorgement of all profits, benefits and other compensation obtained by the

Defendants;

D. Awarding to Plaintiff the costs and disbursements of the action, including
reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and
EB. Granting such other and further relief as the Court deems just and proper.
JURY DEMAND
Plaintiff demands a trial by jury.

Dated: April 1, 2011

GOLIJMAN

 

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-23-
Case 1:11-cv-00863-GLR Document1 Filed 04/01/11 Page 24 of 24

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